Case 2:14-cv-06456-GW-E Document 949-16 Filed 03/05/21 Page 1 of 10 Page ID
                                 #:29611




 EXHIBIT 15-A
Case 2:14-cv-06456-GW-E Document 949-16 Filed 03/05/21 Page 2 of 10 Page ID
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                                                                  Exhibit 15-A
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Case 2:14-cv-06456-GW-E Document 949-16 Filed 03/05/21 Page 3 of 10 Page ID
                                 #:29613




                                                                  Exhibit 15-A
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Case 2:14-cv-06456-GW-E Document 949-16 Filed 03/05/21 Page 4 of 10 Page ID
                                 #:29614




                                                                  Exhibit 15-A
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Case 2:14-cv-06456-GW-E Document 949-16 Filed 03/05/21 Page 5 of 10 Page ID
                                 #:29615




                                                                  Exhibit 15-A
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Case 2:14-cv-06456-GW-E Document 949-16 Filed 03/05/21 Page 6 of 10 Page ID
                                 #:29616




                                                                  Exhibit 15-A
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Case 2:14-cv-06456-GW-E Document 949-16 Filed 03/05/21 Page 7 of 10 Page ID
                                 #:29617




                                                                  Exhibit 15-A
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Case 2:14-cv-06456-GW-E Document 949-16 Filed 03/05/21 Page 8 of 10 Page ID
                                 #:29618




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Case 2:14-cv-06456-GW-E Document 949-16 Filed 03/05/21 Page 9 of 10 Page ID
                                 #:29619




                                                                  Exhibit 15-A
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Case 2:14-cv-06456-GW-E Document 949-16 Filed 03/05/21 Page 10 of 10 Page ID
                                 #:29620




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